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                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA

                                       MIAMI CIVIL DIVISION

                             CASE NO.: ____:20-cv-__________-______


  KEY WEST BAR PILOTS ASSOCIATION,
                          Plaintiff,
  v.


  R. JOYCE GRIFFIN, in her official capacity as
  SUPERVISOR OF ELECTIONS FOR MONROE
  COUNTY, FLORIDA, the CITY OF KEY WEST,
  a municipal corporation of the State of Florida, and
  KEY WEST COMMITTEE FOR SAFER CLEANER
  SHIPS, INC., a Florida non-profit corporation
                          Defendants.
  _________________________________________________/

                     KEY WEST BAR PILOTS ASSOCIATION’S COMPLAINT
                             FOR DECLARATORY JUDGMENT

            Plaintiff, Key West Bar Pilots Association (hereinafter "Pilots" or "Plaintiff"), by and

  through undersigned counsel, hereby sues R. Joyce Griffin, in her official capacity as Supervisor

  of Elections for Monroe County, Florida ("Supervisor Griffin"), the City of Key West, a municipal

  corporation of the state of Florida (“City”), and Key West Committee for Safer Cleaner Ships,

  Inc., a Florida non-profit corporation (the “Committee”) for a Declaratory Judgment ("Complaint")

  which will determine whether or not the Committee’s three proposed charter amendments will

  appear on the November 3, 2020 ballot, and states as follows:

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                                      GENERAL ALLEGATIONS

                                      Jurisdiction, Parties, and Venue

  1.        This is a pre-ballot action for declaratory relief in connection with three proposed charter

            amendments dealing with cruise ships in Key West, the facial legality of which is in

            violation of, inter alia, the United States Constitution.

  2.        Plaintiff Pilots are a common law partnership with a principal place of business in Monroe

            County, Florida, formed by four separate legal entities, each consisting of one (1) harbor

            pilot who lives and works in Monroe County, Florida.

  3.        Defendant Supervisor Griffin is the Supervisor of Elections for Monroe County, Florida,

            and acts pursuant to the authority vested in her by Article VIII, § 1(d) of the Florida

            Constitution and § 98.015, Florida Statutes.

  4.        Defendant City is a municipal corporation of the state of Florida located in Monroe County,

            Florida, operating pursuant to a municipal charter.

  5.        Defendant Committee is a not-for-profit corporation, with a main office and a principal

            place of business in Monroe County, Florida, that is the proponent of the three City charter

            amendments at issue.

  6.      This Court has subject matter jurisdiction pursuant to U.S. Const. art VI, cl. 2, 46 U.S.C.

            § 41006, 28 U.S.C. § 1331, and 28 U.S.C. § 1367.

  7.        Venue is proper in the United States District Court for the Southern District of Florida

            pursuant to 28 U.S.C. § 1391.




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  8.        This action arises from a pre-ballot challenge to an election in Monroe County, Florida

            and, pursuant to Rule 3.1, Local Rules for the Southern District of Florida; the Key West

            Division is the proper forum.

                          History of the Harbor Pilots and the Port of Key West

  9.        Harbor pilots are highly-trained and skilled state-licensed professional mariners that take

            control of US-flagged and foreign-flagged cargo and cruise ships and direct the movement

            of those ships into and out of the deepwater ports in Florida.

  10.       To be a Florida state-licensed harbor pilot, you must at a minimum (1) have extensive

            maritime experience satisfactory to the Board of Pilot Commissioners; (2) pass and score

            the highest grade out of all candidates on a comprehensive deputy pilot exam which

            includes drawing all nautical charts from memory; (3) serve a two and a half year

            apprenticeship with a licensed state harbor pilot; (4) be approved after a practical

            observation by a state licensing board; and (5) pass an additional state pilot exam.

  11.       Harbor pilots are subject to extensive regulation under Chapter 310, Florida Statutes. The

            Florida Legislature has recognized the importance to the state’s economy of the essential

            service that harbor pilots provide. “Piloting is an essential service of such paramount

            importance that its continued existence must be secured by the state and may not be left

            open to market forces.” Fla. Stat. § 310.0015(1) (emphasis supplied).

  12.       The Pilots are the four (4) harbor pilots that service the Port of Key West.

  13.       The first licensed harbor pilot in Florida was Captain John H. Geiger; Captain Geiger came

            to Key West in 1823 and served as the pilot for Commodore Porter’s anti-piracy squadron.




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  14.       After Commodore Porter left Key West, Captain Geiger stayed and continued piloting

            vessels in the Port of Key West, in addition to becoming the very first licensed pilot in the

            state in 1829, Captain Geiger was also a famous “wrecker” in Key West.

  15.       Harbor pilots, later associating as the Pilots, continued to serve the maritime interests

            of Key West over the years.

  16.       During World War II, Key West was the staging area for convoys that left from the

            United States to Europe, with thousands of cargo ships going in and out of the Port of

            Key West. Numerous additional pilots came to Key West from other ports to support

            that vital mission.

  17.       In 1969, the first scheduled cruise ship (the Sunward) came to Key West.

  18.       Between 1969 and 1984, cruise ships, assisted by the Pilots, continued to visit

            Key West on regularly scheduled visits, coming to the two major docks that were

            available; the Navy’s Mole and the Pier B dock.

  19.       In 1984, the City made improvements to the dock at Mallory Square to allow it to

            accept cruise ships.

                       The Current State of the Pilots and the Port of Key West

  20.       Florida currently has fifteen public seaports that generate 900,000 jobs and contribute

            $117.6 billion to Florida’ economy. Florida’s maritime activities account for

            approximately 13% of Florida’s GDP.

  21.       The Port of Key West is one of the busiest cruise ports of call in the nation; just under one

            million people visit Key West annually through the Port of Key West, and it provides an



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            economic impact of approximately $85 million and 1,250 jobs and 15% of the City’s total

            tax revenue.

  22.       The three docking facilities at the Port of Key West are the City-owned Mallory Square,

            the Navy’s Outer Mole, and the privately-owned Pier B.

  23.       The amount of activity, prior to the recent Covid-19 slowdown, has necessitated that the

            Pilots have four harbor pilots and two pilot boats to ensure that state of Florida

            requirements are fulfilled for safe and timely passage.

  24.       The continued presence of cruise ships is not just imperative for the City’s tax revenues,

            for the jobs of over 1,000 citizens of Key West, and the economy of Monroe County, but

            is also particularly important to the Pilots’ continued economic well-being. The loss of the

            cruise ships, as further detailed below, would be a death-knell to the 200-year history of

            Pilots serving the Port of Key West and functionally sever Key West’s citizens from a

            working maritime heritage and future.

  25.       The passage of the Initiatives would result in a severe pecuniary loss to the Pilots, and the

            Pilots being unable to maintain dependable piloting operations in the Port of Key West

            pursuant to Fla. Stat. § 310.0015(c).

                     Three Amendments Designed to Unlawfully End the Cruise Industry

  26.       On or about May 1, 2020, the Committee was registered with the Florida Department of

            State, Division of Corporations.

  27.       The Committee promulgated three (3) petition initiatives to amend the charter of Key West.




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  28.       The first initiative, to add a new § 1.09 to the City Charter of Key West was titled,

            “Limiting Persons disembarking from cruise ships to a total of 1,500 persons per day” and

            had the following text:

                     The number of persons disembarking from cruise ships shall be limited to a total of
                     not more than 1,500 persons per day at any and all public and privately owned or
                     leased property located within the municipal boundary of the City of Key West.

            A true and correct copy of this initiative, text, and affidavit submitted by the Committee to

            the City is attached hereto as Exhibit A and will be referred to as “Initiative 1.”

  29.       The second initiative, to add a new § 1.10 to the City Charter of Key West was titled,

            “Prohibiting cruise ships with a capacity of 1,300 or more persons from disembarking” and

            had the following text:

                     Cruise ships with the capacity to carry 1,300 or more persons (passengers and crew)
                     shall be prohibited from disembarking individuals at any and all public or privately
                     owned or leased property located within the municipal boundary of the City of Key
                     West.

            A true and correct copy of this initiative, text, and affidavit submitted by the Committee to

            the City is attached hereto as Exhibit B and will be referred to as “Initiative 2.”

  30.      The third initiative, to add a new § 1.11 to the City Charter of Key West was titled, “To

           give priority to cruise lines with the best environmental and health records” and had the

           following text:

                     The City of Key West shall give preference and priority to cruise ships and cruise
                     lines that have the best environmental record (the lowest number of environmental
                     violations, penalties and fines) and best health record (the best scores and least
                     number of violations in health inspections and reports issued by the Center of
                     Disease Control Vessel Sanitation Program).




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            A true and correct copy of this initiative, text, and affidavit submitted by the Committee to

            the City is attached hereto as Exhibit C and will be referred to as “Initiative 3.” Collectively

            the three initiatives to amend the City Charter of Key West will be referred to as the

            “Initiatives.”

  31.       On May 7, 2020, Evan Haskell, Julian Benson, Arlo Haskell, David Dunn, and Roger

            McVeigh, as officers and members of the Committee, began the process of putting the

            initiatives on the ballot by submission of affidavits to city. See Exhibits A-C.

  32.       As of June 4, 2020, Supervisor Griffin had officially certified that the petitions were signed

            by the requisite number of voters, making the Initiatives eligible for the ballot.

  33.       On June 4, 2020, the Clerk’s Office of the City of Key West ruled that the Initiatives would

            be placed on the November 3, 2020 general election ballot.

                        The Pilots are Harmed by Allowing the Initiatives to go Forward

  34.       As further detailed below, Pilots know that the Initiatives, even should they succeed at the

            ballot box, will fail after litigation as there is no possible saving construction given that the

            Initiatives are unlawful under federal law, state law, and local law.

  35.       However, the unprecedented economic impact of Covid-19 has decimated the

            local economy of Key West as well as the maritime industry of Key West. In addition,

            cruise ships and cruise lines have cancelled North American cruises through

            September 30, 2020.

  36.       The impact of the Initiatives would be the effective end of cruise ships coming to

            Key West; Initiatives 1 and 2 regulating the size of cruise ships and the number of people

            allowed to disembark would effectively end the ability of cruise ships to visit the Port of

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            Key West, as no modern cruise ships meet those standards, and the few, small cruise ships

            (effectively, large-scale yachts that operate as cruise ships) rarely come to Key West and

            due to their size lack the ability to have modern pollution controls and on-board waste

            treatment systems necessary to meet Initiative 3.

  37.       The four highly-trained harbor pilots that make up the Pilots have spent significant sums

            and time on their training, and are weathering the Covid-19 storm as best they can.

            However, the Pilots are suffering continuing losses and pecuniary harm given the

            uncertainty over the Initiatives that will last at least through November 3, 2020.

  38.       Waiting until November 3, 2020, and possibly months afterwards will cause irreparable

            economic harm to the Pilots.

  39.       These allegations demonstrate a bona fide, actual, present practical need for the declaration

            of the Court as to the Initiatives.

  40.       The declaration sought deals with the present, ascertained and ascertainable state of facts

            in relation to the parties and the present controversy as to the state of facts.

  41.       The relief sought by the Pilots is not merely the giving of legal advice or due to simple

            curiosity but is a controversy that is substantial and concrete, touches the legal relations of

            parties with adverse interests, and will find specific relief through a decree by this Court of

            conclusive character.

                         History of Federal Regulation and Maritime Preemption

  42.       The primacy of the federal government in issues related to admiralty, maritime, and the

            ports and commerce of the United States is unquestioned.



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  43.       The United States Constitution was written with numerous provisions specifically related

            to federal supremacy regarding maritime commerce, including a prohibition on state

            discrimination against cargo shipments (the Tonnage clause) and vesting admiralty

            jurisdiction with federal courts (the Admiralty clause).

  44.       Congress enacted the first legislation to set federal vessel standards shortly after the

            Constitution was ratified in 1789, and that federal registration was arguably the first

            systemic federal legislative statutory scheme.

  45.       The importance, and primacy, of federal regulation of maritime commerce is such that one

            of the earliest federal courthouses in Florida, and the first in the Southern District,

            the Old Post Office and Customs House, was built in Key West in 1891 primarily to

            adjudicate federal claims regarding maritime salvage.

  46.       Federal law, and federal courts, have long recognized the primacy of federal regulation

            over state regulation when it comes to local and state attempts to regulate the maritime

            industry due to federal primacy and/or the commerce clause; Gibbons v. Ogden, 22 U.S. 1

            (1824) (invalidating state attempts to regulate steamboats); Sinnot v. Davenport, 63 U.S.

            227 (1859) (invalidating state statute requiring names of passengers to be recorded, as only

            Congress can regulate ships and vessels); Foster v. Davenport, 63 U.S. 244 (1859)

            (extending Sinnot to say that only Congress can regulate domestic ships and vessels);

            Moran v. City of New Orleans, 112 U.S. 69, 75 (1884) (striking down state law authorizing

            City’s enactment of a license fee on ships as a burden on commerce).

  47.       In 1916, Congress passed the Merchant Marine Act of 1916 (sometimes referred to as the

            “Alexander Act”) creating another comprehensive system of regulation for commercial


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             vessels. Later, as amended, this would be referred to as the Shipping Act of 1916 and

             codified at 46 U.S.C. §§ 801 et seq.

   48.       A major overhaul of this comprehensive and preclusive federal regulation of shipping

             occurred in 1984, with the passage of the U.S. Shipping Act, later amended in 1998.

   49.       Finally, Title 46, the comprehensive federal regulation of shipping, recently incorporated

             the Ports and Waterways Safety Act of 1972, 33 U.S.C. § 1221 et. seq. (the “PWSA”).

             See Chap. 700, 46 U.S.C. (“Ports and Waterway Safety”).

   50.       The overall federal regulatory scheme of Title 46 has also repeatedly been held to preempt

             state and local regulations of shipping. See, e.g., Ray v. Atlantic Richfield Co., 435 U.S.

             151, 168 (1978) (finding field preemption under Title 46); accord United States v. Locke,

             529 U.S. 89 (2000) (explaining history of preemption).

                                 State Regulation and Maritime Preemption

   51.       While the federal government is supreme in matters regarding maritime commerce, the

             state of Florida has additionally preempted local governments, such as the City, from

             regulating the maritime industry.

   52.       The Florida Legislature adopted two pertinent economic policies for Florida; to

             (1) “[e]ncourage the development of a business climate that provides opportunities for the

             growth and expansion of existing state industries, particularly those industries which are

             compatible with Florida’s environment[,]” and (2) “[p]romote coordination among

             Florida’s ports to increase their utilization.” Fla. Stat. § 187.201.

   53.       Pursuant to those policies, the Legislature enacted the Florida Transportation Plan with

             long-range transportation goals and objectives “based upon the prevailing principles of:

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             (a) [p]reserving the existing transportation infrastructure[;] (b) [e]nhancing Florida’s

             economic competitiveness[;] (c) [i]mproving travel choices to ensure mobility[;]” and

             “(d) [e]xpanding the state’s role as a hub for trade and investment.” Fla. Stat. § 339.155.

   54.       In order to achieve these goals, the Legislature created the Florida Seaport Transportation

             and Economic Council to prepare plans for the state’s seaports, such as the Port of

             Key West, that are consistent with the Florida transportation plan. Fla. Stat. § 311.09.

   55.       Each Florida port must develop a strategic plan which includes: “(a) [a]n economic

             development component that identifies targeted business opportunities for increasing

             business and attracting new business for which a particular facility has a strategic

             advantage over its competitors, . . . encourage growth of existing business and acquisition

             of new business . . . (b) [a]n infrastructure development and improvement component . . .

             in order for a port to attain a strategic advantage for competition with national and

             international competitors.” Fla. Stat. § 311.14.

   56.       To the limited extent that the state of Florida may regulate maritime commerce, such as by

             regulating Florida’s port facilities, the Legislature has created a comprehensive strategic

             plan that does not allow local municipalities to override the Legislature in a manner

             inconsistent with Florida’s transportation plan.

                      The Initiatives are Unlawful Comprehensive Plan Amendments


   57.       In 1985, growth management legislation was passed that provides for local government

             “comprehensive plans.” These local planning and land use decisions (comprehensive

             plans) are codified at Fla. Stat. § 163.3177.




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   58.       Monroe County and the City have Comprehensive Plans. Both Monroe County and the

             City have comprehensive plans that specifically mention the Port of Key West, and provide

             for the regulation of growth of the Port of Key West and cruise ships.

   59.       Monroe County’s Comprehensive Plan, Goal 502, states that Monroe County shall be

             served with ports in a manner that maximizes economic benefit; more specifically,

             Objective 502.1 provides that “[b]ecause of the Florida Keys’ unique nature as an

             archipelago, Monroe County shall promote the preservation and enhancement of the

             existing ports and port related activities.”

   60.       Policy 502.1.1 provides that Monroe County shall maintain land development regulations

             and the Land Use District Maps for existing ports which permit ports and port-related

             facilities. Policy 502.1.3 provides that Monroe County shall facilitate port facilities that

             relieve traffic on U.S. 1.

   61.       Finally, Objective 502.4 requires that Monroe County coordinate all port or related

             facilities with the plans of the U.S. Army Corps of Engineers; the Resource Planning and

             Management Program which was prepared pursuant to Chapter 380, Florida Statutes and

             approved by the Governor and Cabinet; and Florida’s Department of Transportation’s

             District Six Five-Year Transportation Plan as adopted. Moreover, Policy 502.4.2 requires

             Monroe County to coordinate port-related developments with the Key West Department of

             Transportation.

   62.       The sum total of Monroe County’s comprehensive plan is that Monroe County has an

             interest in the Port of Key West that is codified in its comprehensive plan; an interest that

             cannot be abrogated through amending the City’s charter.


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   63.       The City’s provisions are more explicit: Goal 5A-1 of the City’s Comprehensive Plan states

             that the City shall stimulate the local economy by providing port-of-call facilities to meet

             existing and future demand.

   64.       Most importantly, Goal 5A-4 requires intergovernmental cooperation. Operation of the

             Port of Key West must be coordinated with all entities having jurisdiction, including but

             not limited to Monroe County, the United State Navy, the United States Coast Guard, and

             the Federal and Florida Departments of Transportation.

   65.       The Florida Legislature, in recognizing the importance of Comprehensive Plans,

             specifically created a provision to prevent this exact situation from happening.

   66.       In providing for local municipal power and responsibility, the Legislature stated that

             “An initiative or referendum process in regard to any local comprehensive plan amendment

             or map amendment is prohibited unless it is expressly authorized by specific language in a

             local government charter that was lawful and in effect on June 1, 2011. A general local

             government charter provision for an initiative or referendum process is not sufficient.”

             Fla. Stat. § 163.3167(8)(b).

   67.       The City’s amendment process was put into place in 1998, and is a general charter

             provision without any specific language for amending the City’s comprehensive plan.

             Attempting to get around the requirements of the comprehensive plan through a “general

             local government charter provision for an initiative” is barred by statute.




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                                                    Count I

                      Declaratory Judgment pursuant to Title 46, United States Code

     The Three Initiatives Violate the Supremacy Clause and are Preempted by Federal Law


   68.       The allegations contained in Paragraphs 1 through 67 are incorporated by reference as if

             fully set our herein.

   69.       The cruise ships that are the subject of the Initiatives are federally-licensed vessels.

   70.      States and localities may not exclude from their water federally-licensed vessels.

   71.       A federal license implies, unequivocally, an authority for a licensed vessel to engage in the

             activity for which it is licensed.

   72.       The limitations imposed by the Initiatives conflict with federal law and are invalid under

             the Supremacy Clause. US Const. Art. VI cl. 2.

   73.       The Initiatives are preempted by federal law and Title 46; the Initiatives are field

             preempted, and conflict preempted.

   74.       Conflict preemption occurs when there is language that precludes state regulation.

             Ray v. Atlantic Richfield Co., 435 U.S. 151, 158, (1978); Florida Lime & Avocado

             Growers, Inc. v. Paul, 373 U.S. 132, 142–143 (1963).

   75.       The Initiatives violate the explicit language, and conflict with, multiple federal statutes

             under Title 46. See, e.g., 46 U.S.C. § 41106; 46 U.S.C. § 70021.

   76.       Field preemption occurs when federal regulation in a particular field is so pervasive as to

             make reasonable the inference that Congress left no room for the States to supplement it.

             United States v. Locke, 529 U.S. 89, 108 (2000).
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   77.       The Initiatives violate the comprehensive regulatory scheme of the Title 46; in terms of the

             ship design, construction, port of call, operations, and passengers, and operation of vessels

             that is squarely within the purview of Title 46.

   78.       The Initiatives, as they are facially unconstitutional in their entirety, should be removed

             from the ballot prior to the election on November 3, 2020.

   79.       As a result of the facts described in the foregoing paragraphs, an actual controversy of

             sufficient immediacy exists between the parties as to whether above-referenced Initiatives

             are valid and constitutional and should be allowed on the November 3, 2020 ballot.


                                                   Count II

                         Declaratory Judgment pursuant to the Commerce Clause

             The Three Initiatives Violate the Commerce Clause and are Unconstitutional


   80.       The allegations contained in Paragraphs 1 through 67 are incorporated by reference as if

             fully set our herein.

   81.       “Congress shall have Power ... [t]o regulate Commerce with foreign Nations, and among

             the several States, and with the Indian Tribes.” U.S. Const. Art. I, § 8. Cl, 3.

   82.       The cruise ship operations that are the subject of the Initiatives constitute interstate

             commerce as they primarily cater to out-of-state tourists and a large number of the cruise

             ship passengers are travelers from out-of-state.

   83.       The cruise ship operations that are the subject of the Initiatives constitute foreign commerce

             as the cruise ships all go to foreign ports of call on their itinerary along with the Port of

             Key West.

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   84.       The Initiatives constitute a substantial burden on both interstate commerce and foreign

             commerce as the Initiatives will effectively end the cruise ship industry’s operation in the

             City of Key West, which is home to one of the busiest ports in the nation.

   85.       Eliminating foreign commerce and eliminating or reducing the presence of out-of-state

             tourists is not a proper reason for a ban and contradicts the very purpose of the commerce

             clause.

   86.       The Initiatives, as they are facially unconstitutional in their entirety, should be removed

             from the ballot prior to the election on November 3, 2020.

   87.       As a result of the facts described in the foregoing paragraphs, an actual controversy of

             sufficient immediacy exists between the parties as to whether above-referenced Initiatives

             are valid and constitutional and should be allowed on the November 3, 2020 ballot.

                                                    Count III

                           Declaratory Judgment pursuant to State Preemption

               The Three Initiatives Violate the Comprehensive State Regulatory Scheme


   88.       The allegations contained in Paragraphs 1 through 67 are incorporated by reference as if fully

             set our herein.

   89.       Florida recognizes implied preemption; courts will strike down enactments that are

             inconsistent with state law when the Florida legislature has preempted a particular subject

             area. D’Agostino v. City of Miami, 220 So. 3d 410 (2017).

   90.       Here, the Florida Legislature enacted a comprehensive legislative scheme regarding Florida’s

             ports to the limits of Florida’s ability to regulate up to the federal regulatory scheme.

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   91.       The Legislature has created its own system of recognized ports, including the Port of Key

             West, and a statutory scheme under Fla. Stat. Ch. 311 (“Seaport Programs and Facilities”) for

             the creation, financing, and expansion of Florida’s ports.

   92.       Seaport planning is a state-level activity, headed by the Department of Transportation and

             pursuant to a unified state plan. Fla. Stat. § 311.14.

   93.       The Initiatives violate the role of the comprehensive regulatory scheme devised by the state,

             and are preempted by state law.

   94.       The Initiatives, as they are facially unconstitutional in their entirety and preempted by state

             law, should be removed from the ballot prior to the election on November 3, 2020.

   95.       As a result of the facts described in the foregoing paragraphs, an actual controversy of

             sufficient immediacy exists between the parties as to whether above-referenced Initiatives are

             valid and constitutional and should be allowed on the November 3, 2020 ballot.

                                                    Count IV

                       Declaratory Judgment pursuant to Fla. Stat. § 163.3167(8)(b)

                 The Three Initiatives Are An Unlawful Comprehensive Plan Amendment


   96.       The allegations contained in Paragraphs 1 through 67 are incorporated by reference as if fully

             set our herein.

   97.       The Comprehensive Plans of both Monroe County and Key West have sections dealing with

             the Port of Key West.




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   98.       Any changes to the use of a deepwater port is a change to the Comprehensive Plan.

             A deepwater port is defined in the community planning act, Fla. Stat. 163.3164, and includes

             the Port of Key West.

   99.       Attempts to change any comprehensive plan through an initiative process, such as the

             Initiatives, is expressly barred by Fla. Stat. § 163.3167(8)(b).

   100.      The Initiatives, as they are facially barred by statute and improper in their entirety, should be

             removed from the ballot prior to the election on November 3, 2020.

   101.      As a result of the facts described in the foregoing paragraphs, an actual controversy of

             sufficient immediacy exists between the parties as to whether above-referenced Initiatives

             should be allowed on the November 3, 2020 ballot.

                                           PRAYER FOR RELIEF

             WHEREFORE, Plaintiff Key West Bar Pilots Association prays for a declaration that

   the Initiatives to add new sections to the Key West Charter, sections 1.09, 1.10, and 1.11,

   be declared unconstitutional and/or preempted by federal, state, and/or local law, and that

   R. Joyce Griffin, in her official capacity as Supervisor of Elections for Monroe County, Florida,

   be ordered to not place the Initiatives on the November 3, 2020 ballot, and for any other such

   relief the Court requires in the interest of justice between the parties.

           Dated: July 7, 2020
                                                             Respectfully Submitted,
                                                             SMITH/HAWKS
                                                             Attorneys for Plaintiffs,
                                                             KEY WEST BAR PILOTS ASSOCIATION
                                                             138 Simonton Street
                                                             Key West, Florida 33040
                                                             Telephone: (305) 296-7227
                                                             Facsimile: (305) 296-8448
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                                              Primary:   Bart@SmithHawks.com
                                                         Chris@SmithHawks.com
                                                         Ashley@SmithHawks.com
                                                         Nikki@SmithHawks.com
                                              Secondary: Brandi@SmithHawks.com
                                                         Jen@SmithHawks.com

                                              BY: /s/ Barton   W. Smith
                                                    Barton W. Smith, Esq.
                                                    Florida Bar No. 20169
                                                    Christopher B. Deem, Esq.
                                                    Florida Bar No. 94462
                                                    Ashley N. Sybesma, Esq.
                                                    Florida Bar No. 22059
                                                    Nicola J. Pappas, Esq.
                                                    Florida Bar No. 126355




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